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                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT
                                                                        DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK
                                                                        DATE FILED: 1/27/2021
------------------------------------------------------------------X
  PALMER CLARE, JONATHAN CRUZ,                                    :
                                                                  :
                                                  Plaintiffs, :
                              -against-                           :        1:20-cv-1375-GHW
                                                                  :
  YOUR WIRELESS SECOND AVE NY INC,                                :            ORDER
  RUSS SINGH, PERRY BAL, SAVIK WALIA                              :
                                                                  :
                                             Defendants.          :
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GREGORY H. WOODS, United States District Judge:
         A jury trial in this matter will begin on Monday, January 24, 2022 at 9:00 a.m. The Court

will hold a final pretrial conference in this case on Monday, January 4, 2022 at 1:00 p.m. Both the

final pretrial conference and the jury trial will be held in Courtroom 12C of the United States

District Court for the Southern District of New York, Daniel Patrick Moynihan U.S. Courthouse at

500 Pearl Street, New York, New York 10007.

         The parties are further directed to submit the following materials no later than November 1,

2021: (1) the joint pretrial order and other submissions permitted or required under Rule 5 of the

Court’s Individual Rules of Practice in Civil Cases, (2) a proposed brief, mutually acceptable

description of the case, to be read to the venire, and (3) a proposed brief, mutually acceptable

overview of the applicable law, to be read to the jury as part of the Court’s initial instructions prior

to opening statements.

         SO ORDERED.

 Dated: January 27, 2021                                      _____________________________________
                                                                       GREGORY H. WOODS
                                                                      United States District Judge
